
37 A.3d 1174 (2012)
Dwight BOWEN, Appellant
v.
COMMONWEALTH of Pennsylvania DEPARTMENT OF CORRECTIONS, Dorina Varner Soiga, Central Office, Jon D. Fisher, Warden at Smithfield, Lisa Hollibaugh, Correction Supt. Assistant 2, and Shoop Lieutenant at Smithfield, Appellees.
No. 83 MAP 2011.
Supreme Court of Pennsylvania.
January 19, 2012.

ORDER
PER CURIAM.
AND NOW, this 19th day of January, 2012, the Order of the Commonwealth Court is AFFIRMED.
